       Case: 4:15-cv-00878-JRA Doc #: 1 Filed: 05/04/15 1 of 13. PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

JEFFREY PAUL INGRAM                            )   CASE NO. 4:15-cv-878
170 Center Street                              )
Struthers, Ohio 44471                          )   JUDGE
                                               )
and                                            )
                                               )
ROSEANNE INGRAM                                )
170 Center Street                              )
Struthers, Ohio 44471                          )
                                               )
                                               )
                           Plaintiffs,         )
                                               )
vs.                                            )
                                               )
MAHONING COUNTY, OHIO /                        )
MAHONING COUNTY BOARD OF                       )
COMMISSIONERS                                  )
21 W. Boardman Street                          )
Youngstown, Ohio 44503                         )
                                               )
JERRY GREENE                                   )
110 Fifth Avenue                               )
Youngstown, Ohio 44503                         )
Individually and in his official capacity as   )
Mahoning County Sheriff                        )
                                               )
JOHN JOSEPH VARGO, D.O.                        )
5480 Norquest Boulevard                        )
Austintown, Ohio 44515                         )
Individually and in his official capacity as   )
Mahoning County Jail Physician                 )
                                               )
CORRECTIONAL HEALTHCARE                        )
COMPANIES, INC.                                )
c/o Corporate Creations Network, Inc.,         )
Statutory Agent                                )
119 E. Court Street                            )
Cincinnati, Ohio 45202                         )
                                               )
LAKISHA TURNER, R.N.                           )
110 Fifth Avenue                               )
       Case: 4:15-cv-00878-JRA Doc #: 1 Filed: 05/04/15 2 of 13. PageID #: 2




Youngstown, Ohio 44503                            )
Individually and in her capacity as a             )
CHC Employee                                      )
                                                  )
TERRY WILLIAMS                                    )
110 Fifth Avenue                                  )
Youngstown, Ohio 44503                            )
Individually and in his official capacity as      )
a Mahoning County Employee                        )
                                                  )
and                                               )
                                                  )
JOHN DOE #1-10, any physicians, nurses,           )
hospitals, corporations, health care professionals)
or other entities, that provided deliberately     )
indifferent and/or negligent medical care to      )
JEFFREY PAUL INGRAM.                              )
Individually or by and through their              )
employees and/or agents                           )
Names and Addresses Unknown                       )
                                                  )
                             Defendants.          )



                                        COMPLAINT
                                (Jury Demand Endorsed Hereon)


       Now come Plaintiffs, JEFFREY PAUL INGRAM and ROSEANNE INGRAM, by and

through counsel, and for their Complaint against Defendants, state as follows:

                                        I. INTRODUCTION

       1.      This civil rights and medical negligence action challenges Defendants’ failure to

provide adequate medical care to JEFFREY PAUL INGRAM while he was incarcerated at the

Mahoning County Jail between November 12 and 20, 2014. Defendants failed to abide by their

own policies and the minimum standards for jails in Ohio related to suicide watch and prevention

resulting in catastrophic injury to JEFFREY PAUL INGRAM. Defendants’ failure to provide

him with appropriate medical treatment and care caused him severe pain and extended suffering.

                                                 2
       Case: 4:15-cv-00878-JRA Doc #: 1 Filed: 05/04/15 3 of 13. PageID #: 3




Plaintiffs bring this action to secure fair compensation and hopefully encourage Defendants to

provide appropriate treatment and care for future inmates displaying suicidal risks.

                                      II. JURISDICTION

       2.      Jurisdiction over claims brought under the Civil Rights Act of 1871 is conferred

on this Court by 28 U.S.C. §§ 1331, 1343 (3) and (4). Jurisdiction over the state law claims is

conferred by 28 U.S.C. § 1367. Venue is proper in this division.

                                           III. PARTIES

       3.      Plaintiff, JEFFREY PAUL INGRAM (hereinafter “Ingram” or Plaintiff”), is and

was, at all times material hereto, an individual domiciled and residing in the County of

Mahoning, State of Ohio.

       4.      Plaintiff, ROSEANNE INGRAM (hereinafter “Consortium Plaintiff”), is and was,

at all times material hereto, an individual domiciled and residing in the County of Mahoning,

State of Ohio, and the spouse of Ingram.

       5.      Defendant MAHONING COUNTY / BOARD OF MAHONING COUNTY

COMMISSIONERS is a unit of local government established under the laws of the State of

Ohio. The County is sued through the Mahoning County Ohio Board of County Commissioners

who are named only in their official capacity pursuant to O.R.C. § 305.12. Defendant is a

“person” under 42 U.S.C. § 1983 and at all times relevant to this case acted under color of law.

       6.      Defendant SHERIFF JERRY GREENE is and was at all times relevant to this

action the duly elected Sheriff of Mahoning County, Ohio. Defendant is a “person” under 42

U.S.C. § 1983 and at all times relevant to this case acted under color of law. He is sued in his

individual and official capacities.




                                                3
       Case: 4:15-cv-00878-JRA Doc #: 1 Filed: 05/04/15 4 of 13. PageID #: 4




       7.      Defendant JOHN JOSEPH VARGO, D.O. is, and was at all times relevant to this

action, the jail physician serving Mahoning County at the Mahoning County Jail (“the Jail”).

Defendant is a “person” under 42 U.S.C. § 1983 and at all times relevant to this case acted under

color of law. He is sued in his individual and official capacities.

       8.      Defendant CORRECTIONAL HEALTHCARE COMPANIES, INC. (“CHC”) is

a Delaware corporation registered as a foreign corporation in the State of Ohio. At all times

relevant to this case CHC contracted with Defendant Mahoning County to provide medical care

to the inmates of the Mahoning County Jail. Defendant is a “person” under 42 U.S.C. § 1983

and at all times relevant to this case acted under color of law.

       9.      Defendant LAKISHA TURNER, R.N. is an employee of Defendant CHC and is

duly licensed to practice nursing by and in the State of Ohio. Defendant is a “person” under 42

U.S.C. § 1983 and at all times relevant to this case acted under color of law. She is sued in her

individual and official capacities.

       10.     Defendant TERRY WILLIAMS is and was at all times relevant to this action a

corrections officer employed by Mahoning County at the Mahoning County Jail. Defendant is a

“person” under 42 U.S.C. § 1983 and at all times relevant to this case acted under color of law.

He is sued in his individual and official capacity.

       11.     Defendants John Doe #1-10, names and addresses unknown, were physicians,

nurses, hospitals, corporations, or other entities that provided deliberately indifferent and/or

negligent medical or health care, individually or by and through their employees and/or agents,

actual or ostensible, to Ingram. Plaintiff has been unable to identify the names and/or identities

of Defendants John Doe #1-10 through the exercise of reasonable diligence. Plaintiff reserves




                                                  4
       Case: 4:15-cv-00878-JRA Doc #: 1 Filed: 05/04/15 5 of 13. PageID #: 5




the right to substitute a named defendant for such John Doe(s) upon discovery of the name

and/or identity of any such individual(s) who may have fallen below accepted standards of care.

                            IV. FACTS COMMON TO ALL CLAIMS

       12.     On November 12, 2014, Ingram was sentenced to 180 days in the Mahoning

County Jail for a misdemeanor theft conviction.

       13.     Ingram was immediately transferred to the Mahoning County Jail where he was

booked and a pre-screening report was performed, which noted that Ingram was prescribed

Xanax for anxiety.

       14.     During Ingram’s initial screening process it was also noted that Ingram was

showing signs of benzodiazepine withdrawal syndrome, which is known to cause suicide and

suicidal ideations.

       15.     Prior to Ingram’s confinement on November 12, 2014, he had previously

demonstrated suicidal risks to agents and employees of the Mahoning County Jail.

       16.     On July 8, 2008, while confined at the Mahoning County Jail, Ingram

communicated to a deputy and nurse that he wanted to hurt himself. Ingram admitted to past and

present thoughts of suicide and was placed on suicide watch. Ingram further acknowledged

previous suicide attempts

       17.     On September 13, 2013, while confined at the Mahoning County Jail, Ingram

communicated suicidal ideations to a deputy. Ingram was placed on suicide watch.

       18.     On November 13, 2014, the day after Ingram was booked for his most recent

confinement, he attempted suicide by hanging himself with a linen bed sheet. Jail personnel

intervened and Ingram was immediately placed on suicide watch.




                                                  5
        Case: 4:15-cv-00878-JRA Doc #: 1 Filed: 05/04/15 6 of 13. PageID #: 6




        19.     On the day after Ingram’s suicide attempt, November 14, 2014, Defendant JOHN

JOSEPH VARGO, D.O. discharged Ingram to the general population of the jail facility.

Defendant LAKISHA TURNER, R.N. signed the medical unit discharge summary.

        20.     On November 20, 2014, Defendant TERRY WILLIAMS encountered Ingram in

the common area of Ingram’s jail pod during recreation time. Inmates are not permitted in the

pod during recreational time without permission.        Defendant WILLIAMS failed to take

affirmative steps to remove Ingram from the jail pod or to make reasonable inquiry to determine

Ingram’s intentions.

        21.     Immediately thereafter, Ingram walked to the top floor of the jail pod and

proceeded to ascend up onto the top railing therein, which looks over the common area. He

stood on top of the railing for approximately 31 seconds, and intentionally leaned forward

causing him to fall a substantial distance and land on his back. No person attempted to intervene

during this suicide attempt.

        22.     As a result of the fall, Ingram sustained multiple fractures to his back,

catastrophic injury and paralysis.

        23.     Directive Number 617.14 promulgated by the Mahoning County Sheriff’s Office

provides, in part, that “[o]nly a qualified mental health professional may remove prisoners from

suicide risk status.”

        24.     O.A.C. 5120:1-8-09, which sets forth the minimum jails standards for the State of

Ohio, also provides that “[o]nly a qualified mental health professional may remove prisoners

from suicide risk status.”

        25.     Upon information and belief, Ingram was not discharged from suicide watch on

November 14, 2014, by a qualified mental health professional.



                                                6
         Case: 4:15-cv-00878-JRA Doc #: 1 Filed: 05/04/15 7 of 13. PageID #: 7




         26.   Upon information and belief, JOHN JOSEPH VARGO, D.O. did not clinically

evaluate Ingram and/or personally observe and assess Ingram prior to his discharge from suicide

watch.

         27.   Ingram was still at risk for suicide at the time of his discharge due to his prior

suicide attempt, suicidal ideations and benzodiazepine withdrawal syndrome.             Ingram’s

symptoms demonstrated a serious medical need.

         28.   Defendants JOHN JOSEPH VARGO, D.O. and LAKISHA TURNER, R.N. knew

that Ingram was experiencing suicidal ideations, had attempted suicide and was experiencing

benzodiazepine withdrawal between November 12 and 20, 2014, and yet, failed to properly

examine and assess him and/or consult with a qualified mental health professional.

         29.   Defendants JOHN JOSEPH VARGO, D.O. and LAKISHA TURNER, R.N. knew

that Ingram’s symptoms posed a substantial risk of serious harm to himself.

         30.   The conduct of Defendants JOHN JOSEPH VARGO, D.O. and LAKISHA

TURNER, R.N. was negligent, knowing, intentional, reckless, wanton, and deliberately

indifferent to the serious medical needs of Ingram.

         31.   At all times relevant to this case the need to provide treatment to inmates that

have attempted suicide and/or are experiencing benzodiazepine withdrawal was obvious and

known to all of the Defendants.

         32.   Prior to the catastrophic injury to Ingram, other inmates had successfully

committed suicide at Mahoning County Jail as a direct and proximate result of the deliberate

indifference of Mahoning County and its employees/agents.

         33.   At all times relevant to this case Defendant CHC was under contract to provide

medical services to the inmates at the Mahoning County Jail.



                                                7
       Case: 4:15-cv-00878-JRA Doc #: 1 Filed: 05/04/15 8 of 13. PageID #: 8




       34.     On information and belief, at all times relevant to this case inmates at the

Mahoning County Jail suffering from suicidal ideations or those that had attempted suicide while

in Jail were not adequately treated for their symptoms.

       35.     At all times relevant to this case Defendant SHERIFF JERRY GREENE was the

policymaker for Mahoning County with respect to the delivery of medical services at the

Mahoning County Jail.

       36.     On information and belief, and at all times relevant to this case, the jail physician

and medical director responsible for clinical services at the Jail was Defendant JOHN JOSEPH

VARGO, D.O. He approved medical policies, approved implementation of policies, trained

staff, supervised staff, provided treatment to inmates and was responsible for overall clinical

treatment of inmates at the Jail.

       37.     At all times relevant to this case Defendants CHC and JOHN JOSEPH VARGO,

D.O. were also policymakers for Mahoning County with respect to the delivery of medical

services at the Mahoning County Jail.

       38.     At all times relevant to this case Defendants CHC and JOHN JOSEPH VARGO,

D.O. were joint participants with Defendant SHERIFF JERRY GREENE with respect to

establishing policy, practice, procedures, customs, and usages regarding delivery of medical care

at the Mahoning County Jail.

       39.     The failure by the Defendants to treat Ingram’s serious medical condition was

negligent, knowing, intentional, reckless, wanton, and deliberately indifferent to the serious

medical needs of Ingram.




                                                 8
       Case: 4:15-cv-00878-JRA Doc #: 1 Filed: 05/04/15 9 of 13. PageID #: 9




       40.      Between September 12, 2014, and September 20, 2014, Defendants failed to take

any minimally adequate measures to treat the foreseeable and dangerous symptoms experienced

by Ingram.

       41.      Defendants MAHONING COUNTY, SHERIFF JERRY GREENE, CHC, and

JOHN JOSEPH VARGO, D.O. had policies, practices, customs, and usages that caused prisoners

suffering serious suicidal symptoms to remain untreated and/or inadequately treated. Such

policies were the moving force behind the injuries suffered by Ingram in this case. By following

such policies, Defendants were deliberately indifferent to the serious medical need of Ingram in

this case. Those policies, practices, customs, and usages included but are not limited to:

       a. the improper delegation of medical tasks to nurses, including Defendant LAKISHA

             TURNER, R.N.;

       b. The failure to implement a proper on call system that ensured appropriate referrals to

             a qualified mental health professional;

       c. the failure to follow existing written policies, procedures and protocols;

       d. the failure to implement a system of quality assurance or improvement;

       e. the failure to train medical and corrections staff to ensure that clinicians received all

             information necessary to provide adequate treatment;

       f. the failure to supervise medical and corrections staff to ensure that all medical

             policies, practices, customs and usages were properly implemented.

       g. the failure to establish, draft, train staff, implement, and supervise staff regarding

             additional polices, practices, customs and usages that were obviously needed to

             adequately treat the needs of inmates suffering from risk of suicide.




                                                  9
      Case: 4:15-cv-00878-JRA Doc #: 1 Filed: 05/04/15 10 of 13. PageID #: 10




         42.   All Defendants’ failures were negligent, reckless, knowing, intentional, willful,

wanton, and deliberately indifferent, and all in contravention of the applicable standard of care.

         43.   Defendants MAHONING COUNTY, SHERIFF JERRY GREENE, CHC, and

JOHN JOSEPH VARGO, D.O. were also deliberately indifferent to the serious medical needs of

Ingram by failing to train and supervise staff and implement jail policies, practices, customs and

usages that adequately addressed the obvious known health and safety risks to inmates on suicide

watch.

         44.   Defendant TERRY WILLIAMS was deliberately indifferent to the serious needs

of Ingram by failing to intervene and make reasonable inquiry when encountering Ingram in the

jail pod common area during recreational time.

         45.   As a direct and proximate result of Defendants’ actions, Ingram experienced pain,

emotional distress, suffering and paralysis.

         46.   As a further direct and proximate result of Ingram’s catastrophic injuries, his

spouse, ROSEANNE INGRAM, has suffered permanent damages, including but not limited to,

the loss of his support, services, and society, including lost companionship, care, assistance,

attention, protection, advice, guidance, counsel, instruction, training and education.

                                            COUNT I
                                        (42 U.S.C. §1983)

         47.   The Defendants have, under color of state law, deprived Ingram of rights,

privileges and immunities secured by the Fourteenth and Eighth Amendments to the U.S.

Constitution, including but not limited to the right to adequate medical care as a prisoner with a

right to be free of cruel and unusual punishment.

         48.   Defendants JOHN JOSEPH VARGO, D.O. and LAKISHA TURNER, R.N. were

each deliberately indifferent to Ingram’s serious medical needs. Each knew that Ingram was at

                                                 10
      Case: 4:15-cv-00878-JRA Doc #: 1 Filed: 05/04/15 11 of 13. PageID #: 11




risk for suicide after his November 13, 2014, attempt, and that he was suffering from signs of

benzodiazepine withdrawal. Each knew that persons in Ingram’s position have a serious medical

need. Each failed to provide the needed medical care to Ingram.

       49.     Defendants MAHONING COUNTY, SHERIFF JERRY GREENE, CHC, and

JOHN JOSEPH VARGO, D.O. failed to adequately train and supervise the Jail corrections

officers and medical staff in the intake, assessment and treatment of detainees, including Ingram.

       50.     The rules, regulations, customs, policies, procedures and usages of Defendants

MAHONING COUNTY, SHERIFF JERRY GREENE, CHC, and JOHN JOSEPH VARGO,

D.O. regarding the diagnosis, treatment and management of persons at risk for suicide were

inadequate and unreasonable, and were the moving force behind the constitutional deprivations

suffered by Ingram.

                                          COUNT II
                                      (Medical Negligence)

       51.     Defendants, individually or by and through actual or ostensible employees or

agents, were professionally negligent and fell below accepted standards of medical care. An

Affidavit of Merit is attached hereto as Exhibit 1 and incorporated herein by reference.

       52.     Defendants, individually or by and through actual or ostensible employees or

agents, failed to exercise the degree of care of reasonably skillful, prudent and careful

physicians, specialists and/or other health care professionals under the same or similar

circumstances by, among other things, discharging Ingram from suicide watch.

       53.     As jail physician, Defendant JOHN JOSEPH VARGO, D.O. failed to ensure that

adequate policies were in place at the Jail to appropriately identify, diagnose and treat inmates

that have attempted suicide while at the Jail.




                                                 11
      Case: 4:15-cv-00878-JRA Doc #: 1 Filed: 05/04/15 12 of 13. PageID #: 12




       54.       Defendant JOHN JOSEPH VARGO, D.O. also failed to train and supervise the

medical staff to provide services consistent with the standard of care. Defendant JOHN JOSEPH

VARGO, D.O. permitted the nurses to provide medical services beyond that permitted by law

given their training, credentials and licensing.

       55.       As a direct and proximate result of the negligence of Defendants, Ingram

sustained permanent and severe injuries. Said injuries caused him much pain, suffering and

mental anguish, thereby denying him a normal way of life, and resulted in loss of life

expectancy.

                                           COUNT III
                                        (Reckless Conduct)

       56.       After Ingram was admitted to the Jail, Defendants acted in a reckless and willful

manner and breached their duty to provide adequate medical care and to protect Ingram during

his incarceration, proximately causing injury to Ingram, all in violation of Ohio law.

                                           COUNT IV
                                       (Loss of Consortium)

       57.       Consortium Plaintiff, ROSEANNE INGRAM, is the wife of Plaintiff, JEFFREY

PAUL INGRAM.

       58.       By reason of the negligent, knowing, intentional, reckless, wanton and

deliberately indifferent actions of Defendants, Consortium Plaintiff lost the services,

companionship and consortium of her husband, and will in all likelihood, lose the services,

companionship and consortium of her husband for an indefinite length of time.

       59.       All of the aforesaid injuries and damages were caused proximately by the actions

of Defendants.




                                                   12
      Case: 4:15-cv-00878-JRA Doc #: 1 Filed: 05/04/15 13 of 13. PageID #: 13




       WHEREFORE, Plaintiffs demand judgment against Defendants, jointly and severally,

as follows:

              (a) Judgment against Defendants for compensatory damages in an amount to be

                 determined at trial;

              (b) Punitive Damages (except against Mahoning County)             in an amount to be

                 determined at trial;

              (c) Court costs and interest at the applicable rate;

              (d) All attorney fees and litigation expenses incurred by Plaintiffs in bringing this

                 action; and

              (e) All other relief this Court deems just and proper.

                                           JURY DEMAND

       Plaintiffs demand a trial by jury on all issues so triable.




                                                                 Respectfully submitted,



                                                                 /s/ Joseph J. Triscaro
                                                                 Joseph J. Triscaro (#0081209)
                                                                 Scott M. Kuboff (#0082703)
                                                                 TRISCARO & ASSOCIATES, LTD.
                                                                 30505 Bainbridge Road, Suite 110
                                                                 Solon, Ohio 44139
                                                                 Tel: (440) 248-8811
                                                                 Fax: (440) 248-1599
                                                                 jtriscaro@demarcotriscaro.com
                                                                 skuboff@demarcotriscaro.com

                                                                 Attorneys for Plaintiffs
                                                                 Jeffrey Paul Ingram and
                                                                 Roseanne Ingram

                                                    13
